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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


TERMINIX INTERNATIONAL
COMPANY, L.P.,

               Plaintiff,

v.                                                               Case No. 8:04-cv-574-T-24 MAP

PALMER RANCH LIMITED PARTNERSHIP,

            Defendant.
___________________________________/

                                             ORDER

       This cause comes before the Court on the Eleventh Circuit’s opinion in this case

reversing this Court’s order dismissing Plaintiff’s motion to compel arbitration and remanding

the case with instructions to grant the motion. (Doc. No. 65).

       Defendant filed a state court complaint against Plaintiff. Plaintiff then filed the instant

petition to compel arbitration pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 2 and 4, and

alleged subject matter jurisdiction based on diversity.1 Defendant admitted to Plaintiff’s

allegations regarding subject matter jurisdiction in its answer and did not otherwise challenge

this Court’s subject matter jurisdiction. On August 4, 2004, this Court entered an order in

Defendant’s favor denying Plaintiff’s petition to compel arbitration and closing this case.

       Plaintiff then filed a timely appeal to the Eleventh Circuit. On December 16, 2005, the

Eleventh Circuit entered its decision reversing this Court’s August 4, 2004 order with



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        The Federal Arbitration Act does not confer subject matter jurisdiction on federal courts.
Baltin v. Alaron Trading Corp., 128 F.3d 1466, 1469 (11th Cir. 1997), cert. denied, 525 U.S. 841
(1998). Independent grounds for subject matter jurisdiction must exist. Id.
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instructions to grant Plaintiff’s petition to compel arbitration and stay litigation. Terminix Int’l

Co., LP v. Palmer Ranch Ltd. P’ship, 432 F.3d 1327 (11th Cir. 2005). On March 1, 2006, the

Eleventh Circuit entered its corresponding judgment and mandate to this Court.

        On March 9, 2006, Defendant filed a motion to dismiss for lack of subject matter

jurisdiction, raising for the first time the issue of subject matter jurisdiction – specifically that the

amount in controversy had not been met. On July 26, 2006, this Court entered an order in

Defendant’s favor granting the motion to dismiss and closing the case.

        Plaintiff then filed a timely appeal to the Eleventh Circuit. On June 2, 2008, the Eleventh

Circuit entered its decision reversing this Court’s July 26, 2006 order with instructions to grant

Plaintiff’s petition to compel arbitration and stay litigation. On July 2, 2008, the Eleventh

Circuit entered its corresponding judgment and mandate to this Court.

        Accordingly, it is ORDERED AND ADJUDGED that:

        (1)     The Clerk is directed to reopen this case;

        (2)     The Court’s order of July 26, 2006 dismissing the case for lack of subject matter

                jurisdiction (Doc. No. 60) is set aside;

        (3)     Plaintiff’s Petition to Compel Arbitration (Doc. No. 1) is GRANTED;

        (4)     All proceedings in this action are STAYED pending completion of arbitration,

                and the Clerk is directed to ADMINISTRATIVELY CLOSE this case; and

        (5)     Plaintiff is directed to inform the Court to reopen the case at the conclusion of the

                arbitration proceedings if necessary.

        DONE AND ORDERED at Tampa, Florida, this 23rd day of July, 2008.




Copies to:
Counsel of Record


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